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                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA

                                               CASE No. 0:19-cv-61785-BB

 SHLOMY HALAWANI,

        Plaintiff,

 vs.

 LEAP EDUCATION,

       Defendant.
 _________________________________/

             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        Plaintiff SHLOMY HALAWANI, by and through undersigned counsel, pursuant to Rule

 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, hereby file this Notice Voluntary Dismissal

 without Prejudice of the above styled action.

        DATED: October 15, 2019

                                                               Respectfully Submitted,

                                                                /s/ Jibrael S. Hindi                                   .
                                                               JIBRAEL S. HINDI, ESQ.
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                                                               COUNSEL FOR PLAINTIFF


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                                         CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on October 15, 2019, the foregoing was electronically

 filed with the Clerk of the Court using the CM/ECF system which will send a notice of electronic

 filing to all counsel of record.

                                                                Respectfully Submitted,

                                                                 /s/ Thomas J. Patti                                    .
                                                                THOMAS J. PATTI, ESQ.
                                                                Florida Bar No.: 118377




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